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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,                            Case No. 09-20105

             Plaintiff,                              Sean F. Cox
                                                     United States District Judge
vs.
                                                     Michael Hluchaniuk
AKIL JUMA YOUNG,                                     United States Magistrate Judge

             Defendant.
                                    /

      ORDER GRANTING RECONSIDERATION ON DEFENDANT’S
            MOTION FOR REASONABLE BOND (Dkt. 28)

      Defendant is charged with controlled substance and firearm offenses. On

March 13, 2009, defendant was detained following a hearing on the government’s

motion for detention. The decision to detain defendant pending trial was a very

close decision given defendant’s ties to the Flint community and his lack of

criminal history. On May 21, 2009, defendant filed a motion for reconsideration of

the detention order citing difficulty in the preparation of a defense due to

defendant’s incarceration, defendant’s strong ties to the community, the continuing

need to care for defendant’s seven year old daughter (defendant has shared custody

of the child with his ex-wife), and the willingness of defendant’s mother to serve as

a third party custodian if defendant is released on bond.


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      While the government has not agreed to bond being set in this matter, on

reconsideration of the earlier decision for detention, the undersigned now believes

that conditions of bond can be set that will ensure the defendant’s appearance at

future court proceedings and the safety of the community. Therefore, the motion

to set reasonable bond will be granted under the following conditions:

      (1)    Defendant will post an unsecured bond in the amount of $100,000;

      (2)    Defendant will report to Pretrial Services as directed;

      (3)    Defendant will surrender any passports he currently possesses and any
             identification he possesses in a false or assumed name;

      (4)    Defendant’s travel will be limited to the State of Michigan unless he
             obtains the express permission of Pretrial Services;

      (5)    Defendant must not possess any firearms or dangerous weapons;

      (6)    Defendant must not possess or consume any controlled substance
             except as may be prescribed by a doctor;

      (7)    Defendant must reside with his mother and only at that location.
             Defendant’s mother will serve as a third party custodian and is
             required to report any possible violation of bond conditions to Pretrial
             Services;

      (8)    Pretrial Services has the discretion to establish a curfew for defendant
             and to use electronic monitoring when such procedures are deemed
             necessary and reasonable;

      (9)    All other standard conditions of bond will be applicable to defendant’s
             release; and



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      (10) Defendant is not to have any contact with any co-defendant in this
           case or anyone who is a potential witness in this case.

      Based on the foregoing, the motion to set bond is GRANTED and defendant

is to be released as soon as all the necessary papers are signed.

      IT IS SO ORDERED.

                                               s/Michael Hluchaniuk
Date: May 27, 2009                             Michael Hluchaniuk
                                               United States Magistrate Judge

                          CERTIFICATE OF SERVICE

        I certify that on May 27, 2009, I electronically filed the foregoing paper with
the Clerk of the Court using the ECF system, which will send notification of such
filing to the following Craig Wininger, Michael P.Manley, and I hereby certify that
I have hand delivered or mailed by United States Postal Service the paper to the
following non-ECF participants: Pretrial Services Officer, United States Marshal.

                                               s/James P. Peltier
                                               Courtroom Deputy Clerk
                                               U.S. District Court
                                               600 Church Street
                                               Flint, MI 48502
                                               (810) 341-7850
                                               pete_peltier@mied.uscourts.gov




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